Case 2:25-cv-00241-BHS   Document 33-1   Filed 02/19/25   Page 1 of 7




           EXHIBIT A
      Case 2:25-cv-00241-BHS          Document 33-1        Filed 02/19/25     Page 2 of 7

                               SECRETARY OF DEFENSE
                               1000 DEFENSE PENTAGON
                              WASHINGTON , DC 2 0301 - 1000


                                                                               JUN 3 0 2016

MEMORANDUM FOR SECRETARIES OF TI-IE MILITARY DEPARTMENTS
               CHAIRMAN OF THE JOINT CHIEFS OF STAFF
               UNDER SECRETARIES OF DEFENSE
               DEPUTY CHIEF MANAGEMENT OFFICER
               CHIEF OF THE NATIONAL GUARD BUREAU
               GENERAL COUNSEL OF THE DEPARTMENT OF DEFENSE
               DIRECTOR, COST ASSESSMENT AND PROGRAM
                  EVALUATION
               INSPECTOR GENERAL OF THE DEPARTMENT OF DEFENSE
               DIRECTOR, OPERATIONAL TEST AND EVALUATION
               DEPARTMENT OF DEFENSE CHIEF INFORMATION OFFICER
               ASSISTANT SECRETA RY OF DEFENSE FOR LEGISLATIVE
                  AFFAIRS
               ASSISTANT TO THE SECRETARY OF DEFENSE FOR PUBLIC
                  AFFAIRS
               DIRECTOR, NET ASSESSMENT
               DIRECTORS OF THE DEFENSE AGENCIES
               DIRECTORS OF THE DOD FIELD ACTIV ITIES

SUBJECT:      Directive-type Memorandum (DTM) 16-005, "Military Service of Transgender
              Service Members"

References:   DoD Directive 1020.02E, " Diversity Management and Equal Opportunity in the
                DoD," June 8, 20 15
              DoD Directive 1350.2, " Department of Defense Military Equal Opportunity
                (MEO) Program ," August 18, 1995
              DoD Instruction 6130.03 , "Medical Standards for Appointment, Enlistment, or
                Induction in the Military Services," April 28, 2010, as amended

       Purpose. This DTM:

              •   Establishes policy, assigns responsibilities, and prescribes procedures for the
                  standards for retention, accession, separation, in-service transition, and
                  medical coverage for transgender personnel serving in the Military Services.

              •   Except as otherwise noted, this DTM will take effect immediately. It will be
                  converted to a new DoDI. This DTM will expire effective June 30, 2017.

       Applicability. This DTM applies to OSD, the Mil itary Departments (including the Coast
Guard at all times, including when it is a Service in the Depaitment of Homeland Security by
agreement with that Department), the Office of the Chairman of the Joint Chiefs of Staff and the
      Case 2:25-cv-00241-BHS             Document 33-1       Filed 02/19/25      Page 3 of 7

                                                                                        DTM-16-005


Joint Staff, the Combatant Commands, the Office of the Inspector General of the Department of
Defense, the Defense Agencies, the DoD Field Activities, and all other organizational entities
within the DoD.

       Policy.

                 •   The defense of the Nation requires a well-trained, all-volunteer force
                     comprised of Active and Reserve Component Service members ready to
                     deploy worldwide on combat and operational missions.

                 •   The policy of the Department of Defense is that service in the United States
                     military should be open to all who can meet the rigorous standards for military
                     service and readiness. Consistent with the policies and procedures set forth in
                     this memorandum, transgender individuals shall be allowed to serve in the
                     military.

                 •   These policies and procedures are premised on my conclusion that open
                     service by transgender Service members while being subject to the same
                     standards and procedures as other members with regard to their medical
                     fitness for duty, physical fitness, uniform and grooming, deployability, and
                     retention, is consistent with military readiness and with strength through
                     diversity.

       Responsibilities

                 •   The Secretaries of the Military Departments will:

                     o   Take immediate action to identify all DoD, Military Department, and
                         Service issuances, the content of which relate to, or may be affected by,
                         the open service of transgender Service members.

                     o   Draft revisions to the issuances identified, and, as necessary and
                         appropriate, draft new issuances, consistent with the policies and
                         procedures in this memorandum.

                     o   Submit to the Under Secretary of Defense for Personnel and Readiness
                         (USD(P&R)) the text of any proposed revisions to existing Military
                         Department and Service regulations, policies, and guidance, and of any
                         proposed new issuance, no later than 30 days in advance of the proposed
                         publication date of each.

                 •   The USD(P&R) will:

                     o   Take immediate action to identify all DoD, Military Department, and
                         Service issuances, the content of which relate to, or may be affected by,
                         the open service of transgender Service members.


                                                   2
     Case 2:25-cv-00241-BHS         Document 33-1      Filed 02/19/25     Page 4 of 7

                                                                                 DTM-16-005


                 o Draft revisions to the issuances identified in this memorandum and, as
                   necessary and appropriate, draft new issuances consistent with the policies
                   and procedures in this memorandum.

      Procedures. See Attachment.

      Releasability. Cleared for public release. This DTM is available on the DoD Issuances
Website at http://www.dtic.mil/whs/directives.




Attachment:
As stated

cc:
Secretary of Homeland Security
Commandant, United States Coast Guard




                                             3
      Case 2:25-cv-00241-BHS           Document 33-1        Filed 02/19/25      Page 5 of 7

                                                                                       DTM-16-005

                                         ATTACHMENT

                                         PROCEDURES


1. SEPARATION AND RETENTION

        a. Effective immediately, no otherwise qualified Service member may be involuntarily
separated, discharged or denied reenlistment or continuation of service, solely on the basis of
their gender identity.

        b. Transgender Service members will be subject to the same standards as any other
Service member of the same gender; they may be separated, discharged, or denied reenlistment
or continuation of service under existing processes and basis, but not due solely to their gender
identity or an expressed intent to transition genders.

        c. A Service member whose ability to serve is adversely affected by a medical condition
or medical treatment related to their gender identity should be treated, for purposes of separation
and retention, in a manner consistent with a Service member whose ability to serve is similarly
affected for reasons unrelated to gender identity or gender transition.


2. ACCESSIONS

        a. Medical standards for accession into the Military Services help to ensure that those
entering service are free of medical conditions or physical defects that may require excessive
time lost from duty. Not later than July 1, 2017, the USD(P&R) will update DoD Instruction
6130.03 to reflect the following policies and procedures:

              (1) A history of gender dysphoria is disqualifying, unless, as certified by a
licensed medical provider, the applicant has been stable without clinically significant distress or
impairment in social, occupational, or other important areas of functioning for 18 months.

               (2) A history of medical treatment associated with gender transition is
disqualifying, unless, as certified by a licensed medical provider:

                       (a) the applicant has completed all medical treatment associated with the
applicant’s gender transition; and

                       (b) the applicant has been stable in the preferred gender for 18 months;
and

                        (c) If the applicant is presently receiving cross-sex hormone therapy post-
gender transition, the individual has been stable on such hormones for 18 months.




                                                 1                                       Attachment
      Case 2:25-cv-00241-BHS            Document 33-1        Filed 02/19/25      Page 6 of 7

                                                                                       DTM-16-005

               (3) A history of sex reassignment or genital reconstruction surgery is
disqualifying, unless, as certified by a licensed medical provider:

                        (a) a period of 18 months has elapsed since the date of the most recent of
any such surgery; and

                        (b) no functional limitations or complications persist, nor is any additional
surgery required.

       b. The Secretaries of the Military Departments and the Commandant, United States
Coast Guard, may waive or reduce the 18-month periods, in whole or in part, in individual cases
for applicable reasons.

        c. The standards for accession described in this memorandum will be reviewed no later
than 24 months from the effective date of this memorandum and may be maintained or changed,
as appropriate, to reflect applicable medical standards and clinical practice guidelines, ensure
consistency with military readiness, and promote effectiveness in the recruiting and retention
policies and procedures of the Armed Forces.


3. IN-SERVICE TRANSITION

        a. Effective October 1, 2016, DoD will implement a construct by which transgender
Service members may transition gender while serving, in accordance with DoDI 1300.28, which
I signed today.

       b. Gender transition while serving in the military presents unique challenges associated
with addressing the needs of the Service member in a manner consistent with military mission
and readiness needs.


4. MEDICAL POLICY. Not later than October 1, 2016, the USD(P&R) will issue further
guidance on the provision of necessary medical care and treatment to transgender Service
members. Until the issuance of such guidance, the Military Departments and Services will
handle requests from transgender Service members for particular medical care or to transition on
a case-by-case basis, following the spirit and intent of this memorandum and DoDI 1300.28.


5. EQUAL OPPORTUNITY

        a. All Service members are entitled to equal opportunity in an environment free from
sexual harassment and unlawful discrimination on the basis of race, color, national origin,
religion, sex, or sexual orientation. It is the Department’s position, consistent with the U.S.
Attorney General’s opinion, that discrimination based on gender identity is a form of sex
discrimination.




                                                  2                                      Attachment
      Case 2:25-cv-00241-BHS         Document 33-1        Filed 02/19/25     Page 7 of 7

                                                                                   DTM-16-005

        b. The USD(P&R) will revise DoD Directives (DoDDs) 1020.02E,” Diversity
Management and Equal Opportunity in the DoD,” and 1350.2,”Department of Defense Military
Equal Opportunity (MEO) Program,” to prohibit discrimination on the basis of gender identity
and to incorporate such prohibitions in all aspects of the DoD MEO program. The USD(P&R)
will prescribe the period of time within which Military Department and Service issuances
implementing the MEO program must be conformed accordingly.


6. EDUCATION AND TRAINING

        a. The USD(P&R) will expeditiously develop and promulgate education and training
materials to provide relevant, useful information for transgender Service members, commanders,
the force, and medical professionals regarding DoD policies and procedures on transgender
service. The USD(P&R) will disseminate these training materials to all Military Departments
and the Coast Guard not later than October 1, 2016.

       b. Not later than November 1, 2016, each Military Department will issue implementing
guidance and a written force training and education plan. Such plan will detail the Military
Department’s plan and program for training and educating its assigned force (to include medical
professionals), including the standards to which such education and training will be conducted,
and the period of time within which it will be completed.


7. IMPLEMENTATION AND TIMELINE

      a. Not later than October 1, 2016, the USD(P&R) will issue a Commander’s Training
Handbook, medical guidance, and guidance establishing procedures for changing a Service
member’s gender marker in DEERS.

       b. In the period between the date of this memorandum and October 1, 2016, the Military
Departments and Services will address requests for gender transition from serving transgender
Service members on a case-by-case basis, following the spirit and intent of this memorandum
and DoDI 1300.28.




                                               3                                    Attachment
